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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION


 METROPOLITAN PROPERTY AND
CASUALTY INSURANCE                                 CV 20-58-BLG-SPW
COMPANY,
                                                    ORDER
                      Plaintiff,

 vs.



DEANNA EGGUM,

                      Defendant.


       Upon Stipulation between the parties hereto, by and between their counsel of

record,

       IT IS HEREBY ORDERED that the above-entitled cause is DISMISSED


WITH PREJUDICE, with each party to bear their own costs and attorney's fees.

       The Clerk of Court is directed to notify the parties of the making of this

Order.

                          /•/<—
       DATED this -i!) day of May,2021.



                                        SUSAN P. WATTERS
                                        U.S. DISTRICT JUDGE
